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May 7, 2007 David A. Zwally
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Via Electronic Filing

The Honorable Denis R. Hurley
United States District Judge
United States District Court

for the Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

Re: — Tokyo Electron Arizona, LLC v. Discreet Industries Corp. & Ovadia Meron
Civ. A. No. 01-3245 (DRH) (WDW)

 

Dear Judge Hurley:

We represent Tokyo Electron Arizona, LLC (“TAZ”) in the above-captioned action. After
receiving the Court’s May 1, 2007 order regarding the status of funds being held in escrow by
Dennis Gleason’s firm, Carella, Byrne, Bain, Gilfillan, Cecchi, Stewart & Olstein, P.C. (“Carella
Byrne”), counsel for TAZ contacted Discreet and Ovadia Meron’s (collectively “Discreet’’)
counsel, in an effort to submit a joint proposal to the Court. The parties have reached an
agreement and present it in this joint submission.

Discreet’s counsel has agreed to release Carella Byrne as escrow agent. Carella Byrne should
deliver the funds being held in escrow to “Tokyo Electron Limited,” TAZ’s parent company,
within one week after Court approval of this joint submission or as otherwise directed by the
Court. Carella Byrne can satisfy delivery by sending the money to FLH. The parties have
further agreed that the amount being paid to TAZ will act as partial satisfaction of the
outstanding judgment.

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ce: Dennis Gleason, Esq.
Oleg Rivkin, Esq.

David A.

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